                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )       Case No.: MJ  21-1365 SCY
                                                                       _____________
                                                     )
       vs.                                           )       Count 1: 18 U.S.C. § 13(a), NMSA
                                                     )       § 30-15-1: Criminal Damage to
DOMINIC T. THOMAS,                                   )       Property (Class B Misdemeanor);
                                                     )
               Defendant.                            )       Count 2: 36 C.F.R. § 1.5(f):
                                                     )       Closures and Public Use Limits
                                                     )       (Infraction);
                                                     )
                                                     )       Count 3: 36 C.F.R. § 2.13 (a)(3):
                                                     )       Fires (Infraction).

                                      INFORMATION

The United States Attorney charges:
                                             Count 1

       On or about September 11, 2021, within the boundaries of the Petroglyph National

Monument, in Bernalillo County, in the District of New Mexico, and within the concurrent

jurisdiction of the United States and administered by the National Park Service, the defendant,

DOMINIC T. THOMAS, without consent of the owner, intentionally damaged real and

personal property belonging to another by setting fire to grass, brush, and fencing situated on the

property of the Petroglyph National Monument.

       In violation of 18 U.S.C. § 13(a) and NMSA § 30-15-1.

                                             Count 2

       On or about September 11, 2021, within the boundaries of the Petroglyph National

Monument, in Bernalillo County, in the District of New Mexico, and within the concurrent

jurisdiction of the United States and administered by the National Park Service, the defendant,

DOMINIC T. THOMAS, was walking and sitting on top of the JA Volcano, an area designated
closed to the public by the Superintendent of Petroglyph National Monument.

       In violation of 36 C.F.R. § 1.5(f).

                                             Count 3

       On or about September 11, 2021, within the boundaries of the Petroglyph National

Monument, in Bernalillo County, in the District of New Mexico, and within the concurrent

jurisdiction of the United States and administered by the National Park Service, the defendant,

DOMINIC T. THOMAS, lit and set fire in a manner that threatens, caused damage and resulted

in the burning of property, park resources and created a public safety hazard.

       In violation of 36 C.F.R. § 2.13 (a)(3).

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